                                           Case 23-14955                    Doc 1       Filed 07/14/23          Page 1 of 36

 Fill in this information to identify the case:

 United States Bankruptcy Court for the:
                                   District of Maryland


 Case number (if known):                                            Chapter     7                                                       ❑ Check if this is an
                                                                                                                                            amended filing

Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                                        06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case number (if known). For
more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



    1. Debtor's name                              Island Breezes Enterprises, Inc.



    2. All other names debtor used
       in the last 8 years

     Include any assumed names,
     trade names, and doing business
     as names



    3. Debtor's federal Employer                  5      2 – 2     2   3    2   4   9   9
       Identification Number (EIN)



    4. Debtor's address                           Principal place of business                                   Mailing address, if different from principal place of
                                                                                                                business

                                                   8822 Worcester Hwy
                                                  Number           Street                                       Number        Street



                                                                                                                P.O. Box
                                                   Berlin, MD 21811-3015
                                                  City                                  State   ZIP Code
                                                                                                                City                              State      ZIP Code

                                                   Worcester                                                    Location of principal assets, if different from principal
                                                  County                                                        place of business


                                                                                                                Number        Street




                                                                                                                City                              State      ZIP Code




    5. Debtor's website (URL)                     https://islandbreezesrv.com/



    6. Type of debtor                             ✔
                                                  ❑      Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                                  ❑      Partnership (excluding LLP)

                                                  ❑      Other. Specify:




Official Form 201                                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 1
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Debtor      Island Breezes Enterprises, Inc.                                                                     Case number (if known)
           Name
                                                A. Check one:
    7. Describe debtor's business
                                                ❑ Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                ❑ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                ❑ Railroad (as defined in 11 U.S.C. §101(44))
                                                ❑ Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                ❑ Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                ❑ Clearing Bank (as defined in 11 U.S.C. §781(3))
                                                ✔ None of the above
                                                ❑
                                                B. Check all that apply:
                                                ❑    Tax-exempt entity (as described in 26 U.S.C. §501)

                                                ❑    Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. § 80a-3)

                                                ❑    Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                                C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                                   http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                                    8     1   2   9

    8. Under which chapter of the               Check one:
       Bankruptcy Code is the                   ✔
                                                ❑    Chapter 7
       debtor filing?

     A debtor who is a “small business
                                                ❑    Chapter 9
     debtor” must check the first subbox. A     ❑    Chapter 11. Check all that apply:
     debtor as defined in § 1182(1) who
     elects to proceed under subchapter V             ❑     The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     of chapter 11 (whether or not the                      noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     debtor is a “small business debtor”)                   $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     must check the second sub-box                          operations, cash-flow statement, and federal income tax return or if any of these documents do not
                                                            exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                      ❑     The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                            debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                            proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                            balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                            any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                      ❑     A plan is being filed with this petition.

                                                      ❑     Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                            accordance with 11 U.S.C. § 1126(b).
                                                      ❑     The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                            Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                            Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                            (Official Form 201A) with this form.
                                                      ❑     The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.

                                                ❑    Chapter 12

    9. Were prior bankruptcy cases filed        ✔ No
                                                ❑
       by or against the debtor within the
       last 8 years?
                                                ❑ Yes.   District                                       When                    Case number
                                                                                                               MM / DD / YYYY
     If more than 2 cases, attach a                       District                                      When                     Case number
     separate list.                                                                                            MM / DD / YYYY

  10. Are any bankruptcy cases pending          ✔ No
                                                ❑
      or being filed by a business partner
      or an affiliate of the debtor?            ❑ Yes.   Debtor                                                                 Relationship

     List all cases. If more than 1, attach a             District                                                               When
     separate list.                                                                                                                            MM / DD / YYYY
                                                          Case number, if known




Official Form 201                                    Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                page 2
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Debtor        Island Breezes Enterprises, Inc.                                                                       Case number (if known)
             Name


  11. Why is the case filed in this        Check all that apply:
      district?
                                           ✔ Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                           ❑
                                                 immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                                 district.

                                           ❑ A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.
  12. Does the debtor own or have          ✔ No
                                           ❑
      possession of any real
      property or personal property
                                           ❑ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      that needs immediate                              Why does the property need immediate attention? (Check all that apply.)
      attention?                                        ❑     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                              What is the hazard?


                                                        ❑     It needs to be physically secured or protected from the weather.
                                                        ❑     It includes perishable goods or assets that could quickly deteriorate or lose value without attention
                                                              (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other
                                                              options).
                                                        ❑     Other
                                                        Where is the property?
                                                                                   Number         Street




                                                                                   City                                           State       ZIP Code
                                                        Is the property insured?
                                                        ❑ No
                                                        ❑ Yes.        Insurance agency
                                                                      Contact name
                                                                      Phone

          Statistical and administrative information

         13. Debtor’s estimation of        Check one:
             available funds?              ❑ Funds will be available for distribution to unsecured creditors.
                                           ✔ After any administrative expenses are paid, no funds will be available for distribution to unsecured
                                           ❑
                                                 creditors.

         14. Estimated number of
                                            ✔
                                            ❑      1-49 ❑ 50-99                   ❑       1,000-5,000 ❑ 5,001-10,000          ❑    25,001-50,000 ❑ 50,000-100,000
             creditors                      ❑      100-199 ❑       200-999        ❑       10,001-25,000                       ❑    More than 100,000


         15. Estimated assets
                                            ✔
                                            ❑      $0-$50,000                        ❑      $1,000,001-$10 million                ❑       $500,000,001-$1 billion
                                            ❑      $50,001-$100,000                  ❑      $10,000,001-$50 million               ❑       $1,000,000,001-$10 billion
                                            ❑      $100,001-$500,000                 ❑      $50,000,001-$100 million              ❑       $10,000,000,001-$50 billion
                                            ❑      $500,001-$1 million               ❑      $100,000,001-$500 million             ❑       More than $50 billion




Official Form 201                                       Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 3
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Debtor        Island Breezes Enterprises, Inc.                                                                       Case number (if known)
             Name



                                            ❑     $0-$50,000                            ❑   $1,000,001-$10 million                  ❑   $500,000,001-$1 billion
         16. Estimated liabilities
                                            ❑     $50,001-$100,000                      ❑   $10,000,001-$50 million                 ❑   $1,000,000,001-$10 billion
                                            ✔
                                            ❑     $100,001-$500,000                     ❑   $50,000,001-$100 million                ❑   $10,000,000,001-$50 billion
                                            ❑     $500,001-$1 million                   ❑   $100,000,001-$500 million               ❑   More than $50 billion



           Request for Relief, Declaration, and Signatures


 WARNING --           Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
                      imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


         17. Declaration and signature of             The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
             authorized representative of             petition.
             debtor
                                                      I have been authorized to file this petition on behalf of the debtor.

                                                      I have examined the information in this petition and have a reasonable belief that the information is true
                                                      and correct.

                                                 I declare under penalty of perjury that the foregoing is true and correct.

                                                     Executed on     07/01/2023
                                                                     MM/ DD/ YYYY



                                                 ✘ /s/ Kevin H Shaffer                                                  Printed name
                                                                                                                                           Kevin H Shaffer
                                                     Signature of authorized representative of debtor


                                                     Title              President and sole owner



         18. Signature of attorney
                                                 ✘                        /s/ John C Gordon                             Date      07/01/2023
                                                                                                                                  MM/ DD/ YYYY
                                                     Signature of attorney for debtor



                                                      John C Gordon
                                                     Printed name

                                                      John C. Gordon, PA
                                                     Firm name

                                                      736 Ticonderoga Ave
                                                     Number          Street


                                                      Severna Park                                                         MD              21146
                                                     City                                                                 State            ZIP Code



                                                      (240) 893-2200                                                        jcglaw@icloud.com
                                                     Contact phone                                                         Email address



                                                      Fed Bar #10039                                                        MD
                                                     Bar number                                                            State




Official Form 201                                     Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
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 Fill in this information to identify the case:

 Debtor name                        Island Breezes Enterprises, Inc.

 United States Bankruptcy Court for the:
                                   District of Maryland


 Case number (if known):                                                                                                           ❑ Check if this is an
                                                                                                                                      amended filing

Official Form 206A/B
Schedule A/B: Assets — Real and Personal Property                                                                                                               12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include all property in
which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have no book value, such as
fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired leases. Also list them on Schedule G:
Executory Contracts and Unexpired Leases (Official Form 206G).
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write the debtor’s
name and case number (if known). Also identify the form and line number to which the additional information applies. If an additional sheet is attached,
include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset schedule or
depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the debtor’s interest, do not deduct
the value of secured claims. See the instructions to understand the terms used in this form.


 Part 1: Cash and cash equivalents


  1.   Does the debtor have any cash or cash equivalents?
       ❑ No. Go to Part 2.
       ✔ Yes. Fill in the information below.
       ❑
       All cash or cash equivalents owned or controlled by the debtor                                                                  Current value of debtor's
                                                                                                                                       interest

  2.   Cash on hand                                                                                                                                        $190.06

  3.   Checking, savings, money market, or financial brokerage accounts (Identify all)
       Name of institution (bank or brokerage firm)              Type of account                 Last 4 digits of account number
       3.1 Bank of Ocean City                                          Checking account                     4365                                           $72.35

       3.2 Bank of Ocean City                                          Checking account                     1903                                         $262.41

  4.   Other cash equivalents (Identify all)
       None

  5.   Total of Part 1
                                                                                                                                                           $524.82
       Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.



 Part 2: Deposits and prepayments


  6.   Does the debtor have any deposits or prepayments?
       ✔ No. Go to Part 3.
       ❑
       ❑ Yes. Fill in the information below.
                                                                                                                                       Current value of debtor's
                                                                                                                                       interest
  7.   Deposits, including security deposits and utility deposits
       Description, including name of holder of deposit
       None




Official Form 206A/B                                       Schedule A/B: Assets — Real and Personal Property                                           page 1
                                          Case 23-14955               Doc 1         Filed 07/14/23           Page 6 of 36

Debtor        Island Breezes Enterprises, Inc.                                                                   Case number (if known)
             Name


  8.   Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
       Description, including name of holder of prepayment

       None


  9.   Total of Part 2
                                                                                                                                                             $0.00
       Add lines 7 through 8 (including amounts on any additional sheets). Copy the total to line 81.



 Part 3: Accounts receivable


  10. Does the debtor have any accounts receivable?
         ✔ No. Go to Part 4.
         ❑
         ❑ Yes. Fill in the information below.

                                                                                                                                          Current value of debtor's
                                                                                                                                          interest

  11. Accounts Receivable

         11a. 90 days old or less:                                      -                                           = ...... ➔
                                     face amount                            doubtful or uncollectible accounts



         11b. Over 90 days old:                                         -                                           = ...... ➔
                                     face amount                            doubtful or uncollectible accounts


  12. Total of Part 3
                                                                                                                                                             $0.00
         Current value on lines 11a + 11b = line 12. Copy the total to line 82.



 Part 4: Investments


  13. Does the debtor own any investments?
         ✔ No. Go to Part 5.
         ❑
         ❑ Yes. Fill in the information below.

                                                                                                         Valuation method used for        Current value of debtor's
                                                                                                         current value                    interest

  14. Mutual funds or publicly traded stocks not included in Part 1
         Name of fund or stock:

         None


  15. Non-publicly traded stock and interests in incorporated and unincorporated
      businesses, including any interest in an LLC, partnership, or joint venture
         Name of fund or stock:                                                     % of
                                                                                    ownership:
         None


  16. Government bonds, corporate bonds, and other negotiable and non-negotiable
      instruments not included in Part 1
         Describe:

Official Form 206A/B                                         Schedule A/B: Assets — Real and Personal Property                                           page 2
                                         Case 23-14955               Doc 1        Filed 07/14/23        Page 7 of 36

Debtor       Island Breezes Enterprises, Inc.                                                            Case number (if known)
             Name



         None


  17. Total of Part 4
                                                                                                                                                     $0.00
         Add lines 14 through 16 (including any additional sheets). Copy the total to line 83.



 Part 5: Inventory, excluding agriculture assets


  18. Does the debtor own any inventory (excluding agriculture assets)?
         ✔ No. Go to Part 6.
         ❑
         ❑ Yes. Fill in the information below.

         General description                                Date of the last        Net book value of   Valuation method used     Current value of debtor's
                                                            physical inventory      debtor's interest   for current value         interest
                                                                                    (Where available)


  19. Raw materials

         None

  20. Work in progress

         None

  21. Finished goods, including goods held for resale

         None

  22. Other inventory or supplies

         None

  23. Total of Part 5
         Add lines 19 through 22 (including any additional sheets). Copy the total to line 84.                                                       $0.00


  24. Is any of the property listed in Part 5 perishable?
         ✔ No
         ❑
         ❑ Yes
  25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
         ✔ No
         ❑
         ❑ Yes
  26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑ Yes


 Part 6: Farming and fishing-related assets (other than titled motor vehicles and land)


  27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
         ✔ No. Go to Part 7.
         ❑
         ❑ Yes. Fill in the information below.


Official Form 206A/B                                         Schedule A/B: Assets — Real and Personal Property                                   page 3
                                         Case 23-14955                Doc 1      Filed 07/14/23         Page 8 of 36

Debtor       Island Breezes Enterprises, Inc.                                                            Case number (if known)
             Name



         General description                                                       Net book value of    Valuation method used     Current value of debtor's
                                                                                   debtor's interest    for current value         interest
                                                                                   (Where available)


  28. Crops — either planted or harvested

         None


  29. Farm animals Examples: Livestock, poultry, farm-raised fish

         None


  30. Farm machinery and equipment (Other than titled motor vehicles)

         None

  31. Farm and fishing supplies, chemicals, and feed

         None


  32. Other farming and fishing-related property not already listed in Part 6

         None

  33. Total of Part 6
         Add lines 28 through 32. Copy the total to line 85.                                                                                         $0.00


  34. Is the debtor a member of an agricultural cooperative?
         ✔ No
         ❑
         ❑ Yes. Is any of the debtor's property stored at the cooperative?
             ❑ No
             ❑ Yes

  35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?
         ✔ No
         ❑
         ❑ Yes
  36. Is a depreciation schedule available for any of the property listed in Part 6?
         ✔ No
         ❑
         ❑ Yes
  37. Has any of the property listed in Part 6 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑ Yes


 Part 7: Office furniture, fixtures, and equipment; and collectibles


  38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?
         ✔ No. Go to Part 8.
         ❑
         ❑ Yes. Fill in the information below.



Official Form 206A/B                                           Schedule A/B: Assets — Real and Personal Property                                 page 4
                                         Case 23-14955                Doc 1       Filed 07/14/23        Page 9 of 36

Debtor       Island Breezes Enterprises, Inc.                                                            Case number (if known)
             Name



         General description                                                       Net book value of    Valuation method used     Current value of debtor's
                                                                                   debtor's interest    for current value         interest
                                                                                   (Where available)


  39. Office furniture

         None


  40. Office fixtures

         None


  41. Office equipment, including all computer equipment and
      communication systems equipment and software

         None


  42. Collectibles Examples: Antiques and figurines; paintings, prints or
      other artwork; books, pictures, or other art objects; china and crystal;
      stamp, coin, or baseball card collections; other collections,
      memorabilia, or collectibles

         None


  43. Total of Part 7
                                                                                                                                                     $0.00
         Add lines 39 through 42. Copy the total to line 86.

  44. Is a depreciation schedule available for any of the property listed in Part 7?
         ✔ No
         ❑
         ❑ Yes
  45. Has any of the property listed in Part 7 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑ Yes


 Part 8: Machinery, equipment, and vehicles


  46. Does the debtor own or lease any machinery, equipment, or vehicles?
         ✔ No. Go to Part 9.
         ❑
         ❑ Yes. Fill in the information below.
         General description                                                       Net book value of    Valuation method used     Current value of debtor's
         Include year, make, model, and identification numbers (i.e., VIN, HIN,    debtor's interest    for current value         interest
         or N-number)                                                              (Where available)


  47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm
      vehicles

         None


  48. Watercraft, trailers, motors, and related accessories Examples:
      Boats, trailers, motors, floating homes, personal watercraft, and fishing
      vessels



Official Form 206A/B                                           Schedule A/B: Assets — Real and Personal Property                                 page 5
                                           Case 23-14955               Doc 1      Filed 07/14/23          Page 10 of 36

Debtor        Island Breezes Enterprises, Inc.                                                               Case number (if known)
             Name



         None


  49. Aircraft and accessories

         None


  50. Other machinery, fixtures, and equipment (excluding farm machinery
      and equipment)

         None


  51. Total of Part 8
                                                                                                                                                         $0.00
         Add lines 47 through 50. Copy the total to line 87.

  52. Is a depreciation schedule available for any of the property listed in Part 8?
         ✔ No
         ❑
         ❑ Yes

  53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑ Yes


 Part 9: Real Property


  54. Does the debtor own or lease any real property?
         ✔ No. Go to Part 10.
         ❑
         ❑ Yes. Fill in the information below.

         General description                                    Nature and extent of Net book value of     Valuation method used      Current value of debtor's
         Include street address or other description such as    debtor's interest in debtor's interest     for current value          interest
         Assessor Parcel Number (APN), and type of property     property             (Where available)
         (for example, acreage, factory, warehouse, apartment
         or office building), if available


  55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has interest

         None


  56. Total of Part 9
                                                                                                                                                         $0.00
         Add the current value on lines 55.1 through 55.3 and entries from any addition sheets. Copy the total to line 88.

  57. Is a depreciation schedule available for any of the property listed in Part 9?
         ✔ No
         ❑
         ❑ Yes
  58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑ Yes


 Part 10: Intangibles and Intellectual Property



Official Form 206A/B                                            Schedule A/B: Assets — Real and Personal Property                                    page 6
                                        Case 23-14955                Doc 1      Filed 07/14/23         Page 11 of 36

Debtor       Island Breezes Enterprises, Inc.                                                            Case number (if known)
             Name



  59. Does the debtor have any interests in intangibles or intellectual property?
         ❑ No. Go to Part 11.
         ✔ Yes. Fill in the information below.
         ❑

         General description                                                       Net book value of   Valuation method used      Current value of debtor's
                                                                                   debtor's interest   for current value          interest
                                                                                   (Where available)


  60. Patents, copyrights, trademarks, and trade secrets

         None

  61. Internet domain names and websites

         61.1 Island Breezes RV                                                            (Unknown)                                           (Unknown)


  62. Licenses, franchises, and royalties

         None

  63. Customer lists, mailing lists, or other compilations

         None


  64. Other intangibles, or intellectual property

         None

  65. Goodwill

         None


  66. Total of Part 10
                                                                                                                                                     $0.00
         Add lines 60 through 65. Copy the total to line 89.

  67. Do your lists or records include personally identifiable information of customers? (as defined in 11 U.S.C. §§ 101(41A) and 107)
         ✔ No
         ❑
         ❑ Yes
  68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
         ✔ No
         ❑
         ❑ Yes
  69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑ Yes


 Part 11: All other assets


  70. Does the debtor own any other assets that have not yet been reported on this form?
         ✔ No. Go to Part 12.
         ❑
         ❑ Yes. Fill in the information below.


Official Form 206A/B                                           Schedule A/B: Assets — Real and Personal Property                                 page 7
                                         Case 23-14955               Doc 1      Filed 07/14/23        Page 12 of 36

Debtor        Island Breezes Enterprises, Inc.                                                           Case number (if known)
             Name



                                                                                                                                  Current value of debtor's
                                                                                                                                  interest

  71. Notes receivable
         Description (include name of obligor)

         None


  72. Tax refunds and unused net operating losses (NOLs)
         Description (for example, federal, state, local)

         None


  73. Interests in insurance policies or annuities

         None


  74. Causes of action against third parties (whether or not a lawsuit has been filed)

         None


  75. Other contingent and unliquidated claims or causes of action of every nature,
      including counterclaims of the debtor and rights to set off claims

         None


  76. Trusts, equitable or future interests in property

         None


  77. Other property of any kind not already listed Examples: Season tickets,
      country club membership

         None


  78. Total of Part 11
                                                                                                                                                     $0.00
         Add lines 71 through 77. Copy the total to line 90.

  79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑ Yes




Official Form 206A/B                                           Schedule A/B: Assets — Real and Personal Property                                 page 8
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Debtor        Island Breezes Enterprises, Inc.                                                                                       Case number (if known)
              Name


 Part 12: Summary


         Type of property                                                                    Current value of                            Current value
                                                                                             personal property                           of real property


  80. Cash, cash equivalents, and financial assets. Copy line 5,
      Part 1.                                                                                                   $524.82

  81. Deposits and prepayments. Copy line 9, Part 2.                                                                  $0.00

  82. Accounts receivable. Copy line 12, Part 3.                                                                      $0.00

  83. Investments. Copy line 17, Part 4.                                                                              $0.00

  84. Inventory. Copy line 23, Part 5.                                                                                $0.00

  85. Farming and fishing-related assets. Copy line 33, Part 6.                                                       $0.00

  86. Office furniture, fixtures, and equipment; collectibles. Copy
      line 43, Part 7.                                                                                                $0.00

  87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                       $0.00


                                                                                                                                ➔                              $0.00
  88. Real property. Copy line 56, Part 9..........................................................................

  89. Intangibles and intellectual property. Copy line 66, Part 10.                                                   $0.00

  90. All other assets. Copy line 78, Part 11.                                          +                             $0.00



  91. Total. Add lines 80 through 90 for each column......                          91a.                        $524.82       + 91b.                           $0.00



                                                                                                                                                                           $524.82
  92. Total of all property on Schedule A/B. Lines 91a + 91b = 92 .................................................................................................




Official Form 206A/B                                                    Schedule A/B: Assets — Real and Personal Property                                              page 9
                                        Case 23-14955                      Doc 1        Filed 07/14/23                Page 14 of 36
 Fill in this information to identify the case:

     Debtor name     Island Breezes Enterprises, Inc.

     United States Bankruptcy Court for the: District of              Maryland
                                                            (State)
     Case number (if known):                                                                                                                           ❑   Check if this is an
                                                                                                                                                           amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                   12/15

Be as complete and accurate as possible.

1.     Do any creditors have claims secured by debtor’s property?
       ✔
       ❑   No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
       ❑   Yes. Fill in all of the information below.

     Part 1:        List Creditors Who Have Secured Claims

 2.     List in alphabetical order all creditors who have secured claims. If a creditor has more                             Column A                       Column B
        than one secured claim, list the creditor separately for each claim.                                                 Amount of claim                Value of collateral
                                                                                                                             Do not deduct the value        that supports this
                                                                                                                             of collateral.                 claim

2.1 Creditor’s name                                          Describe debtor’s property that is subject to a
                                                             lien

        Creditor’s mailing address



                                                             Describe the lien
        Creditor’s email address, if known


                                                             Is the creditor an insider or related party?
        Date debt was
        incurred                                             ❑   No
                                                             ❑   Yes
        Last 4 digits of
                                                             Is anyone else liable on this claim?
        account
        number                                               ❑   No
                                                             ❑   Yes. Fill out Schedule H: Codebtors (Official Form 206H).
        Do multiple creditors have an interest
        in the same property?                  As of the petition filing date, the claim is:
        ❑   No
                                                             Check all that apply.

        ❑   Yes. Specify each creditor, including this       ❑   Contingent
                 creditor, and its relative priority.        ❑   Unliquidated
                                                             ❑   Disputed




 3.     Total of the dollar amounts from Part 1, Column A, including the amounts from the
        Additional
        Page, if any.


Official Form 206D                                      Schedule D: Creditors Who Have Claims Secured by Property                                                   page 1 of 1
                                          Case 23-14955                Doc 1       Filed 07/14/23           Page 15 of 36

 Fill in this information to identify the case:

 Debtor name                        Island Breezes Enterprises, Inc.

 United States Bankruptcy Court for the:
                                   District of Maryland


 Case number (if known):                                                                                                           ❑ Check if this is an
                                                                                                                                      amended filing

Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                               12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured
claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets
- Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases(Official Form 206G). Number the entries
in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1: List All Creditors with PRIORITY Unsecured Claims

  1.    Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507)
        ❑ No. Go to Part 2.
        ✔ Yes. Go to line 2.
        ❑
 2.    List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
       with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                              Total claim                  Priority amount

2.1 Priority creditor’s name and mailing address            As of the petition filing date, the claim is:     $100.00                       $100.00
                                                            Check all that apply.
       Office of Comptroller
                                                            ❑ Contingent
       Attn: Bankruptcy Unit                                ❑ Unliquidated
                                                            ✔ Disputed
                                                            ❑
       301 W Preston St Ste 409

       Baltimore, MD 21201-2396                             Basis for the Claim:

       Date or dates debt was incurred
                                                            Is the claim subject to offset?
       04/30/2023                                           ✔ No
                                                            ❑
       Last 4 digits of account                             ❑ Yes
       number 2 4 9 9
       Specify Code subsection of PRIORITY unsecured
       claim: 11 U.S.C. § 507(a)
       Priority creditor’s name and mailing address         As of the petition filing date, the claim is:
2.2                                                         Check all that apply.
                                                            ❑ Contingent
                                                            ❑ Unliquidated
                                                            ❑ Disputed
                                                            Basis for the claim:
       Date or dates debt was incurred


                                                            Is the claim subject to offset?
       Last 4 digits of account
                                                            ❑ No
       number
                                                            ❑ Yes
       Specify Code subsection of PRIORITY unsecured
       claim: 11 U.S.C. § 507(a)




Official Form 206E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                               page 1 of 3
                                        Case 23-14955              Doc 1        Filed 07/14/23             Page 16 of 36

Debtor        Island Breezes Enterprises, Inc.                                                                Case number (if known)
             Name

 Part 2: List All Creditors with NONPRIORITY Unsecured Claims

  3.     List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured
         claims, fill out and attach the Additional Page of Part 2.
                                                                                                                                       Amount of claim

3.1 Nonpriority creditor’s name and mailing address                         As of the petition filing date, the claim is:              $199,900.00
                                                                            Check all that apply.
       Small Business Administration
                                                                            ❑ Contingent
       2 N 20th St 320                                                      ❑ Unliquidated
                                                                            ❑ Disputed
       Birmingham, AL 35203
                                                                            Basis for the claim: Covid disaster loan
                                                                            Is the claim subject to offset?
       Date or dates debt was incurred         05/27/2020                   ✔ No
                                                                            ❑
                                                                            ❑ Yes
       Last 4 digits of account number         7   9   0    1
       Nonpriority creditor’s name and mailing address                      As of the petition filing date, the claim is:
3.2                                                                         Check all that apply.
                                                                            ❑ Contingent
                                                                            ❑ Unliquidated
                                                                            ❑ Disputed
                                                                            Basis for the claim:
       Date or dates debt was incurred                                      Is the claim subject to offset?
                                                                            ❑ No
       Last 4 digits of account number                                      ❑ Yes
       Nonpriority creditor’s name and mailing address                      As of the petition filing date, the claim is:
3.3                                                                         Check all that apply.
                                                                            ❑ Contingent
                                                                            ❑ Unliquidated
                                                                            ❑ Disputed
                                                                            Basis for the claim:
       Date or dates debt was incurred                                      Is the claim subject to offset?
                                                                            ❑ No
       Last 4 digits of account number                                      ❑ Yes
       Nonpriority creditor’s name and mailing address                      As of the petition filing date, the claim is:
3.4                                                                         Check all that apply.
                                                                            ❑ Contingent
                                                                            ❑ Unliquidated
                                                                            ❑ Disputed
                                                                            Basis for the claim:
       Date or dates debt was incurred                                      Is the claim subject to offset?
                                                                            ❑ No
       Last 4 digits of account number                                      ❑ Yes




Official Form 206E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                             page 2 of 3
                                      Case 23-14955            Doc 1     Filed 07/14/23        Page 17 of 36

Debtor       Island Breezes Enterprises, Inc.                                                     Case number (if known)
            Name

 Part 4: Total Amounts of the Priority and Nonpriority Unsecured Claims


  5.     Add the amounts of priority and nonpriority unsecured claims.


                                                                                                   Total of claim amounts



  5a. Total claims from Part 1                                                     5a.              $100.00




  5b. Total claims from Part 2                                                     5b.              $199,900.00
                                                                                          +

  5c. Total of Parts 1 and 2                                                       5c.              $200,000.00
      Lines 5a + 5b = 5c.




Official Form 206E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                     page 3 of 3
                                          Case 23-14955                Doc 1    Filed 07/14/23           Page 18 of 36

 Fill in this information to identify the case:

 Debtor name                        Island Breezes Enterprises, Inc.

 United States Bankruptcy Court for the:
                                   District of Maryland


 Case number (if known):                                        Chapter   7                                                       ❑ Check if this is an
                                                                                                                                     amended filing

Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                           12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries
consecutively.
 1.    Does the debtor have any executory contracts or unexpired leases?
       ✔ No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
       ❑
       ❑ Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official Form
       206A/B).
 2. List all contracts and unexpired leases                                               State the name and mailing address for all other parties with whom the
                                                                                          debtor has an executory contract or unexpired lease

       State what the contract or
2.1    lease is for and the nature
       of the debtor’s interest

       State the term remaining

       List the contract number of
       any government contract


       State what the contract or
2.2    lease is for and the nature
       of the debtor’s interest

       State the term remaining

       List the contract number of
       any government contract


       State what the contract or
2.3    lease is for and the nature
       of the debtor’s interest

       State the term remaining

       List the contract number of
       any government contract


       State what the contract or
2.4    lease is for and the nature
       of the debtor’s interest

       State the term remaining

       List the contract number of
       any government contract




Official Form 206G                                        Schedule G: Executory Contracts and Unexpired Leases                                            page 1 of 1
                                       Case 23-14955               Doc 1       Filed 07/14/23             Page 19 of 36
 Fill in this information to identify the case:

  Debtor name          Island Breezes Enterprises, Inc.

  United States Bankruptcy Court for the: District of         Maryland

                                                                                                                                         ❑
                                                        (State)
  Case number (If known):
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing


Official Form 206H
Schedule H: Codebtors                                                                                                                                           12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively.
Attach the Additional Page to this page.


  1.    Does the debtor have any codebtors?
        ✔
        ❑     No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
        ❑     Yes

  2.    In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of creditors,
        Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule on which the
        creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

         Column 1: Codebtor                                                                               Column 2: Creditor

                                                                                                                                          Check all schedules
         Name                               Mailing address                                               Name
                                                                                                                                          that apply:

 2.1                                                                                                                                      ❑   D
                                            Street                                                                                        ❑   E/F
                                                                                                                                          ❑   G


                                            City                    State              ZIP Code

 2.2                                                                                                                                      ❑   D
                                            Street                                                                                        ❑   E/F
                                                                                                                                          ❑   G


                                            City                    State              ZIP Code

 2.3                                                                                                                                      ❑   D
                                            Street                                                                                        ❑   E/F
                                                                                                                                          ❑   G


                                            City                    State              ZIP Code

 2.4                                                                                                                                      ❑   D
                                            Street                                                                                        ❑   E/F
                                                                                                                                          ❑   G


                                            City                    State              ZIP Code

 2.5                                                                                                                                      ❑   D
                                            Street                                                                                        ❑   E/F
                                                                                                                                          ❑   G


                                            City                    State              ZIP Code




Official Form 206H                                                   Schedule H: Codebtors                                                          page 1 of    2
                                 Case 23-14955             Doc 1        Filed 07/14/23          Page 20 of 36
Debtor      Island Breezes Enterprises, Inc.                                              Case number (if known)
            Name


                 Additional Page if Debtor Has More Codebtors

                Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

         Column 1: Codebtor                                                                     Column 2: Creditor

                                                                                                                             Check all schedules
         Name                         Mailing address                                           Name
                                                                                                                             that apply:

 2.6                                                                                                                         ❑   D
                                      Street                                                                                 ❑   E/F
                                                                                                                             ❑   G


                                      City                   State             ZIP Code




Official Form 206H                                             Schedule H: Codebtors                                             page   2   of     2
                                                         Case 23-14955                            Doc 1              Filed 07/14/23                         Page 21 of 36


 Fill in this information to identify the case:

 Debtor name                                    Island Breezes Enterprises, Inc.

 United States Bankruptcy Court for the:
                                                District of Maryland


 Case number (if known):                                                                 Chapter            7                                                                                     ❑ Check if this is an
                                                                                                                                                                                                      amended filing

Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                                       12/15

 Part 1: Summary of Assets



 1. Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

    1a. Real Property:
           Copy line 88 from Schedule A/B........................................................................................................................................                                            $0.00


    1b. Total personal property:
           Copy line 91A from Schedule A/B......................................................................................................................................                                          $524.82

    1c. Total of all property:
           Copy line 92 from Schedule A/B.........................................................................................................................................
                                                                                                                                                                                                                          $524.82




  Part 2: Summary of Liabilities




 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
    Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D.................                                                                                                             $0.00



 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

    3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F....................................................................................                                                             $100.00


    3b. Total amount of claims of non-priority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F......................................................                                                           +           $199,900.00




 4. Total liabilities..............................................................................................................................................................................                    $200,000.00

    Lines 2 + 3a + 3b




Official Form 206Sum                                                                           Summary of Assets and Liabilities for Non-Individuals                                                                          page 1
                              Case 23-14955              Doc 1        Filed 07/14/23            Page 22 of 36

                                                 IN THE UNITED STATES BANKRUPTCY COURT
                                                          DISTRICT OF MARYLAND
                                                            BALTIMORE DIVISION

IN RE: Island Breezes Enterprises, Inc.                                                CASE NO

                                                                                       CHAPTER 7




                                                   VERIFICATION OF CREDITOR MATRIX

  The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.


Date       07/01/2023            Signature                                /s/ Kevin H Shaffer
                                                                 Kevin H Shaffer, President and sole owner
Case 23-14955   Doc 1    Filed 07/14/23    Page 23 of 36


                Office of Comptroller
                Attn: Bankruptcy Unit
                301 W Preston St Ste 409
                Baltimore, MD 21201-2396



                Small Business
                Administration
                2 N 20th St 320
                Birmingham, AL 35203
                                          Case 23-14955                  Doc 1        Filed 07/14/23        Page 24 of 36

 Fill in this information to identify the case:

 Debtor name                         Island Breezes Enterprises, Inc.

 United States Bankruptcy Court for the:
                                     District of Maryland


 Case number (if known):                                                                                                       ❑ Check if this is an
                                                                                                                                   amended filing

Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                   04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s
name and case number (if known).



 Part 1: Income


 1.     Gross revenue from business

         ❑ None
        Identify the beginning and ending dates of the debtor’s fiscal year, which         Sources of revenue                 Gross revenue
        may be a calendar year                                                             Check all that apply               (before deductions and
                                                                                                                              exclusions)

       From the beginning of the                                                          ✔ Operating a business
                                                                                          ❑                                                         $6,282.00
                                                                                          ❑ Other
       fiscal year to filing date:       From 01/01/2023          to    Filing date
                                                  MM/ DD/ YYYY


       For prior year:                   From 01/01/2022          to    12/31/2022        ✔ Operating a business
                                                                                          ❑                                                    $134,457.00
                                                  MM/ DD/ YYYY            MM/ DD/ YYYY
                                                                                          ❑ Other

       For the year before that:         From 01/01/2021          to    12/31/2021        ✔ Operating a business
                                                                                          ❑                                                    $174,906.00
                                                  MM/ DD/ YYYY            MM/ DD/ YYYY
                                                                                          ❑ Other


 2.     Non-business revenue
         Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits, and
         royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

         ✔ None
         ❑
                                                                                          Description of sources of revenue   Gross revenue from each
                                                                                                                              source
                                                                                                                              (before deductions and
                                                                                                                              exclusions)

      From the beginning of the
      fiscal year to filing date:       From 01/01/2023          to    Filing date
                                                  MM/ DD/ YYYY


      For prior year:                   From 01/01/2022          to    12/31/2022
                                                  MM/ DD/ YYYY           MM/ DD/ YYYY


      For the year before that:         From 01/01/2021          to    12/31/2021
                                                  MM/ DD/ YYYY           MM/ DD/ YYYY




Official Form 207                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 page 1
Debtor
                                           Case 23-14955
                 Island Breezes Enterprises, Inc.
                                                                       Doc 1        Filed 07/14/23           Page  25 of 36
                                                                                                               Case number (if known)
                 Name

 Part 2: List Certain Transfers Made Before Filing for Bankruptcy
 3.     Certain payments or transfers to creditors within 90 days before filing this case
        List payments or transfers—including expense reimbursements—to any creditor, other than regular employee compensation, within 90 days before filing
        this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25 and every 3
        years after that with respect to cases filed on or after the date of adjustment.)

        ✔ None
        ❑
         Creditor’s name and address                          Dates             Total amount or value          Reasons for payment or transfer
                                                                                                               Check all that apply

 3.1.                                                                                                          ❑ Secured debt
        Creditor's name                                                                                        ❑ Unsecured loan repayments
                                                                                                               ❑ Suppliers or vendors
                                                                                                               ❑ Services
        Street

                                                                                                               ❑ Other
        City                           State   ZIP Code



 4.     Payments or other transfers of property made within 1 year before filing this case that benefited any insider
        List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed or
        co-signed by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount may be
        adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments listed in line 3.
        Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership debtor and their
        relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).
        ❑ None
         Insider’s name and address                           Dates             Total amount or value          Reasons for payment or transfer


 4.1.   Kevin Shaffer                                         2022                        $41,500.00           Payment for services
        Creditor's name
        8822 Worcester Hwy                                    2023
        Street



        Berlin, MD 21811-3015
        City                           State   ZIP Code

         Relationship to debtor

        President and sole owner



 5.     Repossessions, foreclosures, and returns
        List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at a
        foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.
        ✔ None
        ❑
         Creditor’s name and address                          Description of the property                             Date                    Value of property




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 2
Debtor
                                           Case 23-14955
                 Island Breezes Enterprises, Inc.
                                                                       Doc 1        Filed 07/14/23            Page  26 of 36
                                                                                                                Case number (if known)
                 Name

 5.1.
        Creditor's name


        Street




        City                           State   ZIP Code



 6.     Setoffs
        List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account of the
        debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a debt.
        ✔ None
        ❑
         Creditor’s name and address                          Description of the action creditor took                  Date action was         Amount
                                                                                                                       taken

 6.1.
        Creditor's name
                                                               XXXX–
        Street




        City                           State   ZIP Code




 Part 3: Legal Actions or Assignments
 7.     Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
        List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved in any
        capacity—within 1 year before filing this case.
        ✔ None
        ❑
 7.1.    Case title                                 Nature of case                       Court or agency's name and address                    Status of case

                                                                                                                                              ❑ Pending
                                                                                        Name
                                                                                                                                              ❑ On appeal
         Case number                                                                    Street
                                                                                                                                              ❑ Concluded


                                                                                        City                         State     ZIP Code



 8.     Assignments and receivership
        List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
        receiver, custodian, or other court-appointed officer within 1 year before filing this case.
        ✔ None
        ❑




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                         page 3
Debtor
                                            Case 23-14955
                  Island Breezes Enterprises, Inc.
                                                                           Doc 1     Filed 07/14/23           Page  27 of 36
                                                                                                                Case number (if known)
                  Name
 8.1.     Custodian’s name and address                        Description of the property                       Value


         Custodian’s name
                                                              Case title                                        Court name and address
         Street
                                                                                                               Name

                                                              Case number                                      Street
         City                          State    ZIP Code



                                                              Date of order or assignment                      City                            State   ZIP Code




 Part 4: Certain Gifts and Charitable Contributions
 9.      List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of the gifts
         to that recipient is less than $1,000
         ✔ None
         ❑
 9.1.     Recipient’s name and address                         Description of the gifts or contributions                Dates given            Value


         Recipient’s name


         Street




         City                           State   ZIP Code


          Recipient’s relationship to debtor




 Part 5: Certain Losses
 10. All losses from fire, theft, or other casualty within 1 year before filing this case.
         ✔ None
         ❑
           Description of the property lost and how the            Amount of payments received for the loss                     Date of loss      Value of property
           loss occurred                                           If you have received payments to cover the loss, for                           lost
                                                                   example, from insurance, government compensation,
                                                                   or tort liability, list the total received.
                                                                   List unpaid claims on Official Form 106A/B (Schedule
                                                                   A/B: Assets – Real and Personal Property).


 10.1.




 Part 6: Certain Payments or Transfers
 11. Payments related to bankruptcy
         List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing of this
         case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy relief, or filing a
         bankruptcy case.
         ❑ None




Official Form 207                                    Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                         page 4
Debtor
                                            Case 23-14955
                  Island Breezes Enterprises, Inc.
                                                                        Doc 1        Filed 07/14/23          Page  28 of 36
                                                                                                               Case number (if known)
                  Name

 11.1.    Who was paid or who received the transfer?                If not money, describe any property transferred        Dates             Total amount or
                                                                                                                                             value

         John C. Gordon, PA                                        Attorney's Fee                                         7/14/2023                   $3,685.00


          Address

         736 Ticonderoga Ave
         Street


         Severna Park, MD 21146
         City                           State   ZIP Code


          Email or website address



          Who made the payment, if not debtor?

         Kevin Shaffer, business owner




 12. Self-settled trusts of which the debtor is a beneficiary
         List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case to a
         self-settled trust or similar device.
         Do not include transfers already listed on this statement.
         ✔ None
         ❑
 12.1.     Name of trust or device                                Describe any property transferred                      Dates transfers     Total amount or
                                                                                                                         were made           value




           Trustee




 13. Transfers not already listed on this statement
         List any transfers of money or other property—by sale, trade, or any other means—made by the debtor or a person acting on behalf of the debtor within 2
         years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include both
         outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.
         ✔ None
         ❑
 13.1.    Who received the transfer?                            Description of property transferred or payments           Date transfer     Total amount or
                                                                received or debts paid in exchange                        was made          value




          Address


         Street




         City                           State    ZIP Code


          Relationship to debtor




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                                                                                                                 Case number (if known)
                Name
 Part 7: Previous Locations
 14. Previous addresses
         List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.
         ✔ Does not apply
         ❑
          Address                                                                                              Dates of occupancy

 14.1.                                                                                                        From                   To
         Street




         City                         State      ZIP Code




 Part 8: Health Care Bankruptcies
 15. Health Care bankruptcies
         Is the debtor primarily engaged in offering services and facilities for:
          —diagnosing or treating injury, deformity, or disease, or
          —providing any surgical, psychiatric, drug treatment, or obstetric care?
         ✔ No. Go to Part 9.
         ❑
         ❑ Yes. Fill in the information below.
          Facility name and address                         Nature of the business operation, including type of services the     If debtor provides meals
                                                            debtor provides                                                      and housing, number of
                                                                                                                                 patients in debtor’s care

 15.1.
         Facility name


         Street
                                                            Location where patient records are maintained(if different from      How are records kept?
                                                            facility address). If electronic, identify any service provider.
         City                    State    ZIP Code                                                                              Check all that apply:
                                                                                                                                ❑ Electronically
                                                                                                                                ❑ Paper


 Part 9: Personally Identifiable Information

 16. Does the debtor collect and retain personally identifiable information of customers?
         ✔ No.
         ❑
         ❑ Yes. State the nature of the information collected and retained.
                  Does the debtor have a privacy policy about that information?
                  ❑ No
                  ❑ Yes
 17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b) or other pension or profit-
     sharing plan made available by the debtor as an employee benefit?
         ✔ No. Go to Part 10.
         ❑




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                 Name

        ❑ Yes. Does the debtor serve as plan administrator?
               ❑ No. Go to Part 10.
               ❑ Yes. Fill in below:
                         Name of plan                                                                  Employer identification number of the plan

                                                                                                      EIN:        –

                          Has the plan been terminated?
                          ❑ No
                          ❑ Yes


 Part 10: Certain Financial Accounts, Safe Deposit Boxes, and Storage Units
 18. Closed financial accounts
        Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold, moved,
        or transferred?
        Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
        cooperatives, associations, and other financial institutions.
        ❑ None
         Financial institution name and address             Last 4 digits of account     Type of account              Date account was          Last balance
                                                            number                                                    closed, sold, moved,      before closing
                                                                                                                      or transferred            or transfer

 18.1 Bank of Ocean City                                    XXXX– 1 9 0 3               ✔ Checking
                                                                                        ❑                             6/15/2023                $109.06
                                                                                        ❑ Savings
      Name
        627 Williams St
        Street                                                                          ❑ Money market
                                                                                        ❑ Brokerage
        Berlin, MD 21811-1223                                                           ❑ Other
        City                        State   ZIP Code
 19. Safe deposit boxes
        List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.
        ✔ None
        ❑
 19.1    Depository institution name and address            Names of anyone with access to it          Description of the contents                Does debtor
                                                                                                                                                  still have it?

                                                                                                                                                 ❑    No

                                                                                                                                                 ❑
        Name
                                                                                                                                                      Yes
        Street

                                                            Address

        City                        State   ZIP Code


 20. Off-premises storage
        List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in which the
        debtor does business.
        ✔ None
        ❑




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                  Name

 20.1     Facility name and address                                 Names of anyone with access to it      Description of the contents             Does debtor
                                                                                                                                                   still have it?

                                                                                                                                                  ❑   No

                                                                                                                                                  ❑
         Name
                                                                                                                                                      Yes
         Street

                                                                    Address

         City                        State      ZIP Code




 Part 11: Property the Debtor Holds or Controls That the Debtor Does Not Own
 21. Property held for another
         List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do not list
         leased or rented property.
         ✔ None
         ❑
          Owner’s name and address                                       Location of the property                Description of the property                Value


         Name


         Street




         City                           State     ZIP Code




 Part 12: Details About Environmental Information


 For the purpose of Part 12, the following definitions apply:
        Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
        medium affected (air, land, water, or any other medium).
        Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
        owned, operated, or utilized.
        Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a similarly
        harmful substance.

 Report all notices, releases, and proceedings known, regardless of when they occurred.

 22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.
         ✔ No
         ❑
         ❑ Yes. Provide details below.
          Case title                                         Court or agency name and address                   Nature of the case                         Status of case

                                                                                                                                                        ❑ Pending
          Case number
                                                           Name
                                                                                                                                                        ❑ On appeal
                                                           Street
                                                                                                                                                        ❑ Concluded


                                                           City                         State   ZIP Code




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                  Name
 23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
     environmental law?
         ✔ No
         ❑
         ❑ Yes. Provide details below.
          Site name and address                          Governmental unit name and address                 Environmental law, if known              Date of notice


         Name                                           Name


         Street                                         Street




         City                    State   ZIP Code       City                       State   ZIP Code

 24. Has the debtor notified any governmental unit of any release of hazardous material?
         ✔ No
         ❑
         ❑ Yes. Provide details below.
          Site name and address                          Governmental unit name and address                 Environmental law, if known              Date of notice


         Name                                           Name


         Street                                         Street




         City                    State   ZIP Code       City                       State   ZIP Code




 Part 13: Details About the Debtor’s Business or Connections to Any Business


 25. Other businesses in which the debtor has or has had an interest
         List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case. Include this
         information even if already listed in the Schedules.
         ✔ None
         ❑
          Business name and address                      Describe the nature of the business                       Employer Identification number
                                                                                                                   Do not include Social Security number or ITIN.
 25.1.
                                                                                                                  EIN:          –
         Name
                                                                                                                   Dates business existed
         Street
                                                                                                                  From                 To



         City                    State   ZIP Code


 26. Books, records, and financial statements
 26a.    List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
         ❑None




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                 Name

           Name and address                                                                                        Dates of service

 26a.1. Holloway & Marvel
                                                                                                                  From                 To
        Name
          PO Box 2916
          Street



          Salisbury, MD 21802-2916
          City                                              State                  ZIP Code


 26b.     List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial
          statement within 2 years before filing this case.
          ❑None
           Name and address                                                                                        Dates of service

 26b.1. Holloway & Marvel
                                                                                                                  From                 To
        Name
          PO Box 2916
          Street



          Salisbury, MD 21802-2916
          City                                              State                  ZIP Code


 26c.     List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.
          ✔None
          ❑
           Name and address                                                                                        If any books of account and records are
                                                                                                                   unavailable, explain why
 26c.1.


          Name


          Street




          City                                              State                  ZIP Code

 26d.     List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
          statement within 2 years before filing this case.
          ✔None
          ❑
           Name and address

 26d.1.
          Name


          Street




          City                                              State                  ZIP Code


 27. Inventories
        Have any inventories of the debtor’s property been taken within 2 years before filing this case?
        ✔ No
        ❑
        ❑ Yes. Give the details about the two most recent inventories.




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                Name

          Name of the person who supervised the taking of the inventory                            Date of             The dollar amount and basis (cost, market, or
                                                                                                   inventory           other basis) of each inventory




          Name and address of the person who has possession of inventory records

 27.1.
         Name


         Street




         City                                         State                 ZIP Code

 28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people in
     control of the debtor at the time of the filing of this case.
          Name                             Address                                                         Position and nature of any             % of interest, if any
                                                                                                           interest

         Kevin Shaffer                    8822 Worcester Highway Berlin, MD 21811                         President,                                         100.00%

 29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in control of
     the debtor, or shareholders in control of the debtor who no longer hold these positions?
         ✔ No
         ❑
         ❑ Yes. Identify below.
          Name                             Address                                                      Position and nature of any        Period during which
                                                                                                        interest                          position or interest was
                                                                                                                                          held

                                                                                                    ,                                      From
                                                                                                                                           To

 30. Payments, distributions, or withdrawals credited or given to insiders
         Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses, loans,
         credits on loans, stock redemptions, and options exercised?
         ❑ No
         ✔ Yes. Identify below.
         ❑
          Name and address of recipient                                            Amount of money or description          Dates                  Reason for providing
                                                                                   and value of property                                          the value


 30.1. Kevin Shaffer                                                                                        $35,000.00    2022                 Paid in exchange for
       Name                                                                                                                                    services rendered
                                                                                                             $6,500.00    2023
         8822 Worcester Hwy
         Street



         Berlin, MD 21811-3015
         City                                       State        ZIP Code


          Relationship to debtor

         President and sole owner

 31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?
         ✔ No
         ❑
         ❑ Yes. Identify below.
                Name of the parent corporation                                                       Employer Identification number of the parent corporation

                                                                                                    EIN:         –


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            Name
 32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?
      ✔ No
      ❑
      ❑ Yes. Identify below.
           Name of the pension fund                                                                  Employer Identification number of the pension fund

                                                                                                    EIN:        –



 Part 14: Signature and Declaration


    WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in connection with a
    bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


    I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true and
    correct.


    I declare under penalty of perjury that the foregoing is true and correct.


    Executed on          07/01/2023
                     MM/ DD/ YYYY




    ✘ /s/ Kevin H Shaffer                                                Printed name                      Kevin H Shaffer
         Signature of individual signing on behalf of the debtor



      Position or relationship to debtor     President and sole owner




    Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
    ✔ No
    ❑
    ❑ Yes




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                                                   United States Bankruptcy Court
                                                             District of Maryland

In re   Island Breezes Enterprises, Inc.                                                           Case No.
                                                                          Debtor(s)                Chapter                      7



                                     CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or recusal, the
undersigned counsel for           Island Breezes Enterprises, Inc.          in the above captioned action, certifies that the following is a (are)
corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any class of the corporation's(s')
equity interests, or states that there are no entities to report under FRBP 7007.1:




✔
❑   None [Check if applicable]




             07/01/2023                                              /s/ John C Gordon
Date                                              John C Gordon
                                                  Signature of Attorney or Litigant
                                                  Counsel for Island Breezes Enterprises, Inc.
                                                  Bar Number: Fed Bar #10039
                                                  John C. Gordon, PA
                                                  736 Ticonderoga Ave
                                                  Severna Park, MD 21146
                                                  Phone: (410) 340-0808
                                                  Email: jcglaw@icloud.com




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